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Attorneys for Defendant Kelly Keays


                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

CONOCOPHILLIPS ALASKA, INC.

             Plaintiff,

      vs.

FORREST WRIGHT; AMANDA                        Case No.: 3:19-cv-00311-SLG
WRIGHT; NATHAN KEAYS; KELLY
KEAYS; ECO EDGE ARMORING, LLC;
DAVID BENEFIELD; WRIGHT
CAPITAL INVESTMENTS, LLC; and
DB OILFIELD SUPPORT SERVICES,

             Defendants.

                          SECOND NOTICE OF COMPLIANCE

      Defendant Kelly Keays, by and through counsel Ashburn & Mason P.C., hereby

provides Notice of Compliance with the Court’s December 26, 2019 Order Granting

Stipulation [33], in which she was permitted to establish a new, independent checking

account with Wells Fargo or another local banking institution for the purpose of

depositing her paychecks from her employer.



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        Ms. Keays opened a new, independent checking account (XXXXXX6953) with

Alaska USA on December 28, 2019, in compliance with the Court’s Order [33].



                                                    ASHBURN & MASON, P.C.
                                                    Attorneys for Kelly Keays


DATED: 12/30/19                            By:      s/ Jeffrey W. Robinson
                                                    JEFFREY W. ROBINSON
                                                    Alaska Bar No. 0805038

                                           By:      s/ Laura C. Dulic
                                                    LAURA C. DULIC
                                                    Alaska Bar No. 1305013




CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on December 30, 2019, a copy of the foregoing was served
electronically through the CM/ECF system on the following:

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        JEFFREY W. ROBINSON

By:     s/Laura C. Dulic
        LAURA C. DULIC




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